VIRGINIA BEACH
CITY PUBLIC SCHOOLS
CHARTING THE COURSE

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Challenge and support all students to excel
academically by demonstrating the foundational
literacies, core knowledge, and transferrable life
skills outlined in the VBCPS Graduate Profile.

EQUITY EMPHASIS

Identify and address inequities in achievement outcomes
by investigating and implementing best practices and
seeking innovative solutions.

10.

STRATEGIES

Pursue opportunities to expand early childhood education
offerings.

Implement evidence-based literacy instruction and
interventions in all elementary classrooms.

Further integrate reading and writing across the curriculum
and implement a plan for monitoring and improving
achievement in these areas.

Develop, implement, and monitor a K-12 plan for improving
mathematics achievement and enrollment.

Incorporate multicultural resources and materials into
the curriculum at all levels. *

Develop and embed protocols in curriculum that help
facilitate effective classroom discussions from multiple
perspectives. *

Implement and share inclusive teaching practices that
foster deeper learning and engagement and are adaptable
to diverse student needs with an emphasis on Black males,
economically disadvantaged, English learners (ELs),

and students with disabilities (SWD). * +

Ensure there are explicit connections within the curriculum
to the 5Cs and the attributes in the division’s Graduate
Profile and use the curriculum in all areas of study to
support students’ acquisition of these skills and attributes.

Maintain a balanced assessment system with an
emphasis on standards-based, performance-based and
student-led assessments to meet internal and external
accountability requirements.

Strengthen the use of Student Response Teams (SRTs)
to provide academic interventions and acceleration

for learners at all levels. +

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Create an inclusive learning environment that
supports the physical and mental health of all
students and strengthens the social-emotional skills
they need to become balanced, resilient learners
who are personally and socially responsible.

EQUITY EMPHASIS

Engage in culturally responsive practices divisionwide.
Identify and address inequities in discipline practices
by investigating and implementing best practices and
seeking innovative solutions.

STRATEGIES

1. Provide a safe, welcoming, and inclusive learning
environment that is conducive to student learning.

2. More deeply integrate social-emotional learning (SEL)
into the PreK-12 curriculum.

3. Engage in culturally responsive practices at the classroom,
school, and division level.

4. Increase student participation in school and community
activities. +

5. Use responsive practices such as morning meetings
and student advisories to support SEL.

6. Develop students’ digital wellness by helping students
learn to make responsible decisions in their use of
technology.

7. Address physical health through nutrition and
fitness programs.

8. Implement procedures to systematically address identified
behavioral and mental health needs and provide program
and service options.

9. Continue to use SRTs and the PBIS framework to provide
social, emotional, and behavioral supports to students. +

10. Continue to implement and monitor evidence-based
strategies for addressing student attendance.

11. Implement prevention and intervention strategies
as alternatives to suspension. * +

12. Increase the number and diversity of mentorship
opportunities. * +

13. Amplify student voice through increased opportunities for
leadership and input into school-level decisions to ensure
a sense of belonging across diverse student groups. * +

COMPASS 'T0'2028 STRATEGIC FRAMEWORK

STUDENT-CENTERED FOR STUDENT SUCCESS

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Engage all students in rigorous, authentic, and
student-centered learning to help them identify
their passions, take ownership of their learning, and
create a plan for pursuing their postsecondary goals.

EQUITY EMPHASIS

Identify and address inequities in learning opportunities
for students by investigating and implementing best
practices and seeking innovative solutions.

STRATEGIES

1. Further promote and expand equitable access to services
and programs that support students’ future aspirations. * +

2. Increase awareness around entry points and support

for students interested in enrolling in advanced coursework
and programs. * +

3. Offer supplementary and extended learning experiences

at the secondary level to address disparities in advanced
coursework participation. * +

4. Partner with students to create inquiry-based and

experiential learning opportunities with an emphasis
on global, cross-curricular, and real-world connections.
5. Enable student ownership of learning through goal setting
and reflection with opportunities to make decisions in
the learning process.

6. Refine capacity for transformational learning by providing
students with authentic, student-centered learning
opportunities for the purpose of developing future-ready
learners.

7. Balance the effective and efficient use of technology
to meet students’ individual needs and allow them
to demonstrate their learning.

8. Create and use online portfolios as a place for students
to curate artifacts connected to the Graduate Profile
to demonstrate their learning and inform the development
of their postsecondary goals and signature experiences.

9. Engage all stakeholders in ensuring that all students
have an actionable plan for pursuing their postsecondary
goals by effectively implementing the Academic and
Career Planning (ACP) process K-12.

* High leverage equity strategies from the division’s Equity Plan

+ High leverage inclusive strategies

Civil Action No. 1:25-cv-01120 (DLF)

COMPASS 16 2025 STRATEGIC FRAMEWORK

revised 1/23

STUDENT-CENTERED FOR STUDENT SUCCESS

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Foster a positive working climate that values
and invests in a high-quality, diversified workforce
who exemplify the division’s core values.

EQUITY EMPHASIS

Place a priority on recruiting, retaining, and promoting
a workforce representative of our diverse student
population.

STRATEGIES

1. Remain focused on providing a competitive compensation
and benefit plan that includes differentiated compensation
for hard to staff position and schools.

2. Revisit the employee evaluation process to ensure it is
aligned with the new strategic framework and that it
focuses on self-reflection, growth, effective feedback,
and coaching.

3. Support intentional, focused, and innovative recruitment
and retention efforts to increase the diversity and quality
of various applicant pools. ! *

4. Promote and expand resources to support the health
and well-being of all staff.

5. Provide comprehensive onboarding and induction
for all staff focused on the division’s vision, mission,
and core values.

6. Provide a variety of personalized professional learning
opportunities to all staff to support their professional
growth and implementation of the strategies in
Compass to 2025. * +

7. Expand “Grow Your Own” programs to include more
staff groups and increase awareness of as well as
opportunities for tuition reimbursement.

Cultivate mutually supportive partnerships —
among families, schools, the division, businesses,
military, faith-based, civic and city agencies —
to support student well-being, enhance real-world
learning, and broaden opportunities for
career exploration and experience.

EQUITY EMPHASIS
Strengthen connections and communication with
families and students in most need of additional
support.

STRATEGIES

1. Provide a comprehensive structure for defining mutually
supportive partnerships, setting expectations, monitoring
performance, and measuring equity.

2. Create an accessible partnership database. *

3. Broaden resources and networking opportunities
to strengthen the role of the community engagement
liaison to further attract, cultivate, and retain
partnerships to support student achievement, future
aspirations, and well-being.

4. Build partnerships with diverse groups of businesses
and organizations to support a variety of learning
experiences during and outside of the school day.

5. Partner with local agencies to provide wraparound services
for students and families. * +

Create an accessible database of translators. *

7. Provide and expand targeted training, support, and
resources to all staff on how to communicate effectively
with all stakeholders.

8. Showcase educational opportunities, programs, and
partnerships within the school division to inform and
inspire the VBCPS community at large through multiple
channels.

9. Strengthen internal and external communication to more
effectively listen and respond to community feedback.

1 Encompasses the following high leverage strategies from the division’s Equity Plan: Continue to strengthen the recruitment and selection process;

Increase employee retention by fostering a positive work environment.
* High leverage equity strategies from the division’s Equity Plan
+ High leverage inclusion strategies

Pursue the effective and efficient use of division
resources, operations, and processes to support the
division’s vision, mission, and strategic goals.

EQUITY EMPHASIS
Ensure equitable distribution of human, fiscal, and
capital resources across the division.

STRATEGIES

1. Manage and distribute all resources (human, fiscal, capital)
proactively, equitably, and responsibly based on needs.

2. Provide adequate and sustainable human and capital
resources, * +

3. Collaborate with community, business, or organizations
to leverage resources to support equitable opportunities
to level the “playing field”. * +
Develop and publish an equity data dashboard. *

5. With a continued focus on student-centered decision
making, collaboratively develop, measure, and formally
review key operating metrics that promote transparency,
organizational effectiveness, efficiency, and sustainability.

6. Use data from a variety of reporting mechanisms (e.g. equity
audits, program evaluations, fiscal audits, after action
reports) to engage in data-informed decision making.

7. Create opportunities for cross-departmental planning and
communication to strengthen and align operations.

8. Keep informed of trends and best practices and implement
as appropriate to support the division’s vision, mission,
and strategic goals.

9. Clearly communicate central office functions and points
of contact to strengthen the support and services provided
to schools, offices, and other departments.

10. Review division processes policies, and regulations and
revise as necessary to increase organizational effectiveness
and efficiency.

11. Continue to implement safety and security measures to
ensure the school division is prepared to effectively prevent
and respond to all emergencies that might affect students
and staff.

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